Case 8:00-cr-00468-JSM-TBM Document 342 Filed 06/01/06 Page 1 of 2 PageID 1333



                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION


    LUIS EDUARDO MARTINEZ RENTERIA,

           Petitioner,

    v.                                                   Case No. 8:00-CR-468-T-30TBM
                                                                  8:06-CV-958-T-30TBM
    UNITED STATES OF AMERICA ,

           Respondent.
                                                    /

                                             ORDER

           This matter is before the Court for consideration of Petitioner’s motion to vacate, set

    aside, or correct an allegedly illegal sentence filed pro se pursuant to 28 U.S.C. § 2255.

    A motion to vacate must be reviewed prior to service on the United States. See Rule 4 of

    the Rules Governing § 2255 Cases. If the "motion and the files and records of the case

    conclusively show that the prisoner is entitled to no relief," the motion is properly denied

    without a response from the United States. 28 U.S.C. § 2255 ¶ 2.

           Having entered a plea of guilty to a drug-related charge, Petitioner was sentenced

    on September 13, 2001, to serve a term of 135 months imprisonment (CR Dkt. 180). The

    Eleventh Circuit Court of Appeals affirmed Petitioner’s conviction and sentence on

    December 6, 2002. See United States v. Renteria, 54 Fed. Appx. 932 (11th Cir. 2002).

    Petitioner’s request for collateral relief pursuant to 28 U.S.C. § 2255 was denied on October

    6, 2003 (CR Dkt. 291). See Renteria v. United States, Case No. 8:03-CV-1935-T-30TBM

    (M.D. Fla. 2003).

           “[A] second or successive [§ 2255] motion must be certified as provided in section

    2244 by a panel of the appropriate court of appeals.” 28 U.S.C. § 2255. See 28 U.S.C. §
Case 8:00-cr-00468-JSM-TBM Document 342 Filed 06/01/06 Page 2 of 2 PageID 1334



    2244(b)(3)(A). Because Petitioner has previously sought collateral relief pursuant to § 2255

    and he has not demonstrated that he has obtained permission from the Eleventh Circuit to

    file a second or successive motion, this Court is without jurisdiction to entertain the instant

    § 2255 motion. This case will, therefore, be dismissed without prejudice to allow Petitioner

    the opportunity to seek said authorization.

             ACCORDINGLY, the Court ORDERS that:

             1.   The motion to vacate, set aside, or correct an illegal sentence is DISMISSED

                  without prejudice (CV Dkt. 1).

             2.   The Clerk is directed to send Petitioner the Eleventh Circuit's application form

                  for leave to file a second or successive § 2255 motion under 28 U.S.C. §

                  2244(b).

             3.   The Clerk shall terminate any pending motions and close this case.

             DONE and ORDERED in Tampa, Florida on June 1, 2006.




    Copy furnished to:
    All Parties/Counsel of Record

    SA/jsh




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